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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Victoria Flanigan,                                  No. CV-20-01854-PHX-DJH
10                  Plaintiff,                           ORDER
11   v.
12   EMCOR Facilities Services Incorporated,
13                  Defendant.
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15          The Court having reviewed the parties’ Stipulation of Dismissal (Doc. 5), filed on
16   November 4, 2020,
17          IT IS ORDERED approving the Stipulation (Doc. 5) and dismissing this action in
18   its entirety, with prejudice, each party to bear its own attorneys’ fees and costs.
19          IT IS FURTHER ORDERED directing the Clerk of Court to terminate this action.
20          Dated this 4th day of November, 2020.
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                                                   Honorable Diane J. Humetewa
24                                                 United States District Judge
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